                    THE UNITED STATES DlSTRlCT COURT
               FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                            WESTERN DIVISION
                              No. 5:06-CV-118

UNITED STATES OF AMERICA,

                      Plaintiff
                                                        DISMISSAL OF
                                                 )     CONSENT DECREE

STATE OF NORTH CAROLINA;
NORTH CAROLINA STATE BOARD
OF bLECTIONS; and GARY 0 .
BARTLETT, Executive Director, North
Carolina State Board of Elections,

                      Defendants.



                         DISMISSAL OF CONSENT DECREE

       Plaintiff United States of America and Defendants the State of North Carolina,

the North Carolina State Board of Elections, and Gary 0 . Bartlett, Executive Director of

the North Carolina State Board of Elections, respectfully show to the Court the following

in support of dismissal of the Consent Decree in this action:

1.     On March 20, 2006, this Court entered a Consent Decree in this matter in which

the parties agreed that the Court would retain jurisdiction over the action. The parties

also agreed "to seek dismissal immediately of the Consent Decree upon enactment of

legislation by the North Carolina General Assembly that permanently remedies the

potential UOCAVA violation described in [the] Consent Decree and Complaint. All

reporting obligations of the State Board of Elections pursuant to [the] Consent Decree

shall end upon the enactment of legislation by the North Carolina General Assembly that




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permanently remedies the potential UOCAVA violation described in [the] Consent Decree."

2.     On July 27, 2006, the General Assembly adopted S.L. 2006-192 which was

signed by the Governor of North Carolina on August 3, 2006. (Attachment A) Sections

two and six of the Act changed North Carolina's elections statutes to permanently

remedy the potential UOCAVA violation described in the Consent Decree. Specifically,

section two of the Act extends from four to seven weeks the period between the first and

second primaries in order for overseas voters to have time to participate, and section six

of the Act amends North Carolina's statutes to cover all citizens covered by UOCAVA.

3.     This legislation was submitted for review under Section 5 of the Voting Rights

Act of 1965, as amended. On October 13, 2006, the United States Department of Justice

informed the State Board of Elections that the United States Attorney General interposed

no objection to the election law changes in section six of S.L. 2006-192. (Attachment B)

On October 20, 2006, the United States Department of Justice informed the State Board

of Elections that the United States Attorney General interposed no objection to the

changes in section two of S.L. 2006-192. (Attachment C)

4.     The North Carolina General Assembly has adopted legislation that permanently

remedies the potential UOCAVA violations described in the Consent Decree and

Compla~nt. Since preclearance of this legislation has been obtained, there is no

impediment to the administration and enforcement of the legislation throughout North

Carolina.

5.     In accordance with the terms of the Consent Decree, the parties now seek

dismissal of it. All reporting obligations of the State Board of Elections pursuant to the

decree have ceased in accordance with the terms of the Consent Decree.




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6.     Each party shall bear its own costs with regard to actions taken by the parties

since the entry of the Consent Decree

       The undersigned consent to the dismissal of the Consent Decree in this action.

       For the plaintiff:                              For ihe defendants:
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       It is hereby ORDERED, ADJUDGED, and DECREED that the CONSENT

DECREE entered on March 20.2006. is DISMISSED,

       This the        "'day of
                              '    )bo+,&               ,2006,
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                                            kd{k4&w            nited States   strict Judge




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